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                                       United States District Court
                                  EASTERN DISTRICT OF CALIFORNIA


                                                          )
               United States of America                   )
                          vs.                             )   Case No. 1:18-CR-00065-DAD-BAM-2
                     Ulises Pena                          )
                                                          )

                   CONSENT TO MODIFY CONDITIONS OF RELEASE
I,         Ulises Pena            , have discussed with              Ryan Beckwith              , Pretrial Services
Officer, modifications of my release conditions as follows:

         You must participate in a program of medical or psychiatric treatment, including treatment for drug
         dependency, as approved by the pretrial services officer. You must pay all or part of the costs of the
         counseling services based upon your ability to pay, as determined by the pretrial services officer.

        All other conditions not in conflict with this order shall remain in full force and effect.



I consent to this modification of my release conditions and agree to abide by this modification.

/s/ Ulises Pena                                 7/29/20             /s/ Ryan Beckwith                        9/11/2020
Signature of Defendant                 Date                         Pretrial Services Officer         Date



I have reviewed the conditions and concur that this modification is appropriate.

/s/Henry Z. Carbajal III                                                                 9/11/2020
Signature of Assistant United States Attorney                                            Date



I have reviewed the conditions with my client and concur that this modification is appropriate.

/s/ Emily de Leon                                                                                     7/29/20
Signature of Defense Counsel                                                             Date


                                      ORDER OF THE COURT
X The above modification of conditions of release is ordered, to be effective on 9/11/2020                               .
  The above modification of conditions of release is not ordered.


/s/ Barbara A. McAuliffe                                                                 9/11/2020
Signature of Judicial Officer                                                            Date

cc:     U.S. Attorney=s Office, Defense Counsel, Pretrial Services
